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          EXHIBIT A
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ----------------------------------------------------------------------- X


         VIVIAN JAWORSKY,                                                                         SUMMONS

                                                                                     Plaintiff,   Index No.:
                                                 -against-                                        The Basis of Venue is:
                                                                                                  Location of Incident
        THE CITY OF NEW YORK, NYPD POLICE
        SERGEANT GIMENEZ, Tax ID No. 933804, and NYPD                                             Plaintiff designates New York
        POLICE OFFICERS JOHN/JANE DOES NUMBERS
                                                                                                  County as the place of trial.
        1-10,
                                               Defendants.
        ----------------------------------------------------------------------- X


        To the above named Defendants:


                You are hereby summoned to answer the Verified Complaint in this action, and to serve
         a copy of your Verified Answer to the Verified Complaint, or, if the Verified Complaint is not
         served with this Summons, to serve a notice of appearance on the Plaintiffs attorneys within
         twenty days after the service of this Summons, exclusive of the day of service, where service is
         made by delivery upon you personally within the state, or, within 30 days after completion of
         service where service is made in any other manner. In case of your failure to appear or answer,
         judgment will be taken against you by default for the relief demanded in the complaint.

         DATED: New York, New York
               March 20, 2021
                                                                    Yours, etc.

                                                                         Oftt�
                                                                    CAITLIN ROBIN, ESQ.
                                                                    CAITLIN ROBIN AND ASSOCIATES PLLC
                                                                    Attorney for Plaintiff
                                                                    30 Broad Street Suite 702
                                                                    New York, New York 10004
                                                                    (646)-524-6026

         TO:         THE CITY OF NEW YORI(, Corporation Counsel, 100 Church Street, NY, NY 10007

                     NYPD POLICE SERGEANT GIMENEZ, TAX ID NO. 933804, PSA-2; 25 Central
                     Avenue, Brooklyn, NY 11206




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          SUPREME COURT OF THE STATE OF NEW YORK.
          COUNTY OF NEW YORK
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          VIVIAN JAWORSKY,
                                                                                      INDEX NO.:
                                                                      Plaintiff,
                                                                                      VERIFIED COMPLAINT
                                        -against-

          THE CITY OF NEW YORK, NYPD POLICE
          SERGEANT GIMENEZ, Tax ID No. 933804, and NYPD                               JURY TRIAL DEMANDED
          POLICE OFFICERS JOHN/JANE DOES NUMBERS
          1-10,
                                                 Defendants
          ----------------------------------------------------------------------- X


                 Plaintiff VIVIAN JAWORSKY, by her attorneys, Caitlin Robin & Associates, PLLC, as
          and for her Verified Complaint herein, alleges upon information and belief as follows:

                                           PRELIMINARY STATEMENT

                             1. This is a civil rights action to recover money damages arising out of
            defendants' violation of Plaintiffs rights as secured by the Civil Rights Act, 42 U.S.C. Sections
            1983 and 1988, and of rights secured by the First, Fourth, Fifth, and Fourteenth Amendments to
            the United States Constitution, and the common law and the laws of the State of New York. On
            June 4th, 2020, at approximately 7:30 p.m., plaintiff VIVIAN JAWORSKY, while lawfully and
            peacefully protesting in the vicinity of East 54th Street and 3rd Avenue in New York, New York,
            was subject to unlawful stop, frisk, search, false arrest, and false imprisonment by Defendant
            NYPD Officers. In addition, Plaintiff was subjected to physical assault, battery, and use of
            excessive force by the defendant Officers, causing Plaintiff to suffer both physical and emotional
            injuries. Plaintiff was deprived of her constitutional and common law rights when the individual
            defendants unlawfully stopped, frisked, searched, assaulted, battered, subjected to excessive
            force, falsely arrested, falsely imprisoned, and denied Plaintiff the right to due process and fair
            trial in violation of the First, Fourth, Fifth, and Fourteenth Amendments to the United States
            Constitution, the common law and the laws of the State of New York.



                                                            PARTIES

                              2.    Plaintiff VIVIAN JAWORSKY is a resident of the State of New York.



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                                                  3.             NYPD                  POLICE               SERGEANT                          GIMENEZ,                         Tax         ID        No.      933804,              is and            was

          at      all        times             relevant                  herein          an      officer,          employee,                    and            agent           of      the           New           York          City          Police

          Department.


                                                  4.             NYPD                  POLICE               SERGEANT                          GIMENEZ,                         Tax         ID         No.      933804,              was         at all

          times          relevant                 herein,                assigned              to the       17th        Precinct.


                                                   5.            NYPD                  POLICE                  SERGEANT                        GIMENEZ,                         Tax             ID      No.         933804,              is     being
           sued         in        his     individual                     and      official          capacities.


                                                   6.            NYPD                  POLICE             OFFICERS                      JOHN/JANE                          DOES                 NUMBERS                      1-10,            are    and
          were          at all            times            relevant               herein,           officers,            employees,                     and         agents           of     the        New          York         City          Police

          Department.


                                                   7.            NYPD                  POLICE               OFFICERS                         JOHN/JANE                         DOES                  NUMBERS                       1-10,            were

           at all       times             relevant               herein,               assigned           to the          17th        Precinct.


                                                   8.            NYPD                  POLICE                  OFFICERS                       JOHN/JANE                             DOES               NUMBERS                          1-10,         are

           being             sued         in their             individual                 and       official           capacities.


                                                   9.               At     all     times         relevant              herein,          the        individual                  defendant(s)                        were      acting             under
           color             of     state         law          in        the      course            and        scope           of     their        duties              and          functions                 as    agents,             servants,
           employees                      and        officers              of     the     New            York          City         Police         Department,                       and         otherwise                performed                  and
           engaged                  in     conduct               incidental                  to the       perfoñnañce                       of their           lawful           functions                   in the        course           of their

           duties.                They          were           acting            for     and        on behalf            of the         New             York           City         Police            Department                   at all       times
           relevant                herein,              with         the        power           and       authority                 vested         in     them            as officers,                  agents            and      employees
           of     the        New           York             City          Police          Department                    and         incidental                 to    the       lawful            pursuit            of     their        duties          as

           officers,                employees                    and           agents          of the       New          York           City       Police              Department.


                                                     10.            Defendant                   City      of     New           York           is a municipal                         entity            created            and      authorized
           under             the        laws       of the            State        ofNew                York.       It is authorized                        by       law        to maintain                    a police           department,
           which              acts        as its         agent            in the         area       of    law      enforcement                      and          for      which            it is ultimately                     responsible.
           The          defendant                    City           of     New           York          assumes                the     risks        incidental                   to     the        maintenance                      of    a police
           force         and             the      employment                        of    police          officers             as said          risks            attach         to        the        public         consumers                   of    the

           services                provided                 by       the       New           York        City      Police             Department.


                                                     11.            Plaintiff             in     furtherance                   of     his      causes               of     action               brought             pursuant              to        New
           York          State            law        filed          a timely             Notice           of     Claim          against            the         CITY            OF      NEW YORK                            in compliance
           with         the         Municipal                   Law            Section           50      and      in     accordance                     with        New          York            State         law.


                                                     12.            In      accordance                    with         New            York              State            law         and         General                Municipal                    Law
           Section                 50,     plaintiff                testified            at a hearing              held             pursuant             to General                  Municipal                     Law       Section                50-H

           on February                         19,      2021.


                                                     13.            More           than         thirty          (30)      days          have             elapsed               since            service            of     said      Notice              of

           Claim              was         filed         and         THE           CITY           OF       NEW YORK                           has        failed         to pay             or adjust             the       claims.



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                                              14.         This         action          falls        within             one          or more                of the       exceptions                 as set forth                in     CPLR
           Section            1602,          involving             intentional                  actions,               as well             as the           defendant,                and/or            defendants,                 having
           acted       in reckless                   disregard           for        the     safety          of        others,             as well           as having              performed                   intentional                 acts.


                                              15.         Plaintiff            has         sustained              damages                   in       an amount                in    excess           of the        jurisdictional
           limits       of     all     the     lower           Courts          of the          State         of New                  York.




                                                                               STATEMENT                                       OF FACTS


                                              16.         On       June             4th,       2020,             at     approximately                            7:30         P.M.,            Plaintiff           was         lawfully
           present           in the       vicinity             of the         intersection                  of East                54th         Street           and     3rd       Avenue               in New           York,             New
           York,        when             the         Defendant                 Police           Officers                 unlawfully                        stopped,            frisked,            searched,              assaulted,
           battered,           arrested,              and       imprisoned                  Plaintiff             without                 probable                cause        or legal            justification.


                                              17.         Plaintiff             had        joined           a peaceful                     protest            against          racial           injustice           which             began
           outside           Mayor            Bill       De     Blasio's              home           at approximately                                5:00        p.m.       on      June         4th,      2020.


                                              18.         After         approximately                        an hour                 of    standing               and      listening              to different             speakers,
           the      crowd            of protesters               began          their          peaceful                march              toward             downtown.


                                              19.         At      some          point          the      crowd               of protesters                     turned           onto       3rd       Avenue,              and         by      the
           time       the      march             was          approaching                   the       intersection                        at     East         54th        Street,          the       plaintiff            had         fallen
           toward           the      back        of the         crowd.


                                              20.         Plaintiff            observed               police                officers             on bicycles                at the         rear         of the         crowd           begin

           running            into       protesters              from         behind            on their               bikes,             and        Plaintiff           was       also        shoved            from      behind.


                                              21.         In     fear         for     her       safety,               the      plaintiff               moved              away           from        the         main      crowd               of
           protesters             and         onto       a side        street         in    an attempt                   to        stay        out      of the         escalating               situation.


                                              22.         Plaintiff             was          blocked                  from           continuing                    further            down              this      side       street           by
           defendant                 police          officers           on      foot,          who       directed                   her         back         toward            the       chaos             she    was          trying          to
           escape.


                                              23.         When           Plaintiff             turned             back             toward            the     direction              of the         crowd,          she         observed
           a van       pull       into        the      crowd           with         men        inside        who             jumped                  out     and       started           grabbing              people.


                                              24.         When           Plaintiff              again            tried         to      disperse               again,          she        was       struck         in     the        left     leg
           by     a defendant                  officer          with      a baton,              causing                her         to fall       forward               onto        the     ground.


                                              25.         Plaintiff             tried          to     get        up          off      the        pavement,                  but          she      was          grabbed              by       the
           shoulders              and        shoved            back      to the            ground            by        a defendant                     police           officer.




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                                              26.           Defendant                     police             officers               then            began            shouting                at    Plaintiff                  to    stay        down,
          pinned          her      to the           ground,              and        began             to     arrest              her.


                                              27.           At     no      point           did        defendant                    officers             observe             the       plaintiff               committing                   a crime,

          nor      did    they          have          any        reason            to     suspect                Plaintiff               of having                 committed                  a crime.



                                              28.           Nonetheless,                       Plaintiff                was        arrested                by      defendant             officers                 and      restrained                with

          extremely               tight        plastic             zip     tie     handcuffs.



                                              29.           At      no time              did      the       plaintiff               resist           arrest         or become                 combative                    with        defendant

          officers.


                                              30.           After          she was               cuffed               by     defendant                  officers            and       placed                on the         curb        with         other

          protesters,              Plaintiff             was         made               to wait            for        approximately                          two      (2)     hours           in        what            was        now       pouring
          rain      before             an    NYPD                police          van       finally               arrived.



                                              31.            Plaintiff             was          placed                in    the         van         with        approximately                          six        (6)     other        protesters

          and        an   NYPD                police             officer            who          was             not        wearing                 a mask,            to     whom                she         complained                     that        her

          cuffs        were        too        tight,         but     those              complaints                     were         ignored.


                                              32.            Plaintiff              was          then            transpotted                    against              her     will        to       the         17th        Precinct              police

          station         where              she      was        unlawfully                    searched,                    photographed,                           and      detained                  in    a holding               cell.



                                              33.            While           at the              17th         Precinct,                  one         officer          noticed             that          Plaintiff's                 hands            were

          turning           an unusual                  color        because                of the           excessively                       tight         zip     tie    cuffs.        He           cut    the        ties      long       enough

          for      Plaintiff            to     gain          some          feeling               back            in        her     hands,              and         then       replaced                  them            with        new        plastic

          cuffs.


                                              34.            Plaintiff              was          in    excessively                       tight         plastic             cuffs       for        approximately                           seven          (7)
          hours,          causing             injury           to her            left     shoulder                    and        lacerations                    on both            wrists.


                                              35.            On June                5th,         2020,             after          approximately                            10 hours               in        unlawful               custody,              the

          plaintiff            was          released             with       a Desk               Appearance                         Ticket             for      Violation               of    a Mayoral                       Order,          with        no

          probable              cause          or legal             justification.


                                              36.            The         New            York           County                District               Attorney               declined               to prosecute                      the      plaintiff

           on these            charges              as she           committed                        no     crime,               and         the      charges             were         shortly               thereafter                 dismissed

           and       sealed.


                                              37.            As      a result              of         these            physical                injuries             inflicted            by        the        Defendant                    Officers,
           Plaintiff           still        suffers          from          lingering                  pain         and           discomfort                  during          her       daily            activities.



                                              38.            As      a result             of this           interaction                   with          Defendant                    Officers,               Plaintiff             has       suffered

           lasting        emotional                    and       mental             trauma,                including                    but     not        limited           to anxiety                     and     panic           attacks,             and

           still     sees       a therapist                 regularly               for        treatment                   regarding                  the       events          of     June            4, 2020.




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                                                39.        Plaintiff             committed                 no       crime          and      was        within         her     full     First       Amendment                      right
           to peacefully                   assemble               and      protest              on    June         4th,       2020.


                                                40.        Some           of     the       police           officer           defendants                 observed               the    violation             of    Plaintiff's
           rights         under           the     Constitution                   of    the       United             States          and          New      York          State         Law         and     did      nothing               to
           prevent           their         fellow             officers           from           unjustifiably                     stopping,             frisking,             assaulting,               battering,               using
           excessive               force         upon,         and       unlawfully                  arresting               and         detaining          the       Plaintiff.


                                                41.        The       unlawful                stop,         frisk,         assault,           battery,           use      of     excessive               force,          unlawful

           arrest,        unlawful               imprisonment,                        and        denial           of Plaintiff              s right        to peacefully                    assemble              and      protest

           by      the     individually                   named             defendants                     caused            Plaintiff            to     sustain          physical,               psychological                     and
           emotional               trauma.




                                                                            FIRST                    CAUSE                    OF ACTION


                                                      Violation                  of       Plaintiff's                     First           Amendment                           RighA


                                                42.        The         Plaintiff             repeats,              reiterates,               and        realleges             each          and      every          allegation
           contained               in paragraphs                   marked                 1 through               41      with        the        same      force        and        effect       as if more               fully       set
           forth         at length          herein.


                                                43.        The           illegal            block            of        demonstration                        employed                   by       defendants                     herein
           terminated                Plaintiff's                 right         to      peacefully                   assemble                and         protest         through              means           intentionally
           applied.


                                                44.        The         conduct             of     defendants                  in      stopping            Plaintiff           from          peacefully             protesting
           was       performed                  under          color        of      law      and        without              any         reasonable               suspicion            of      criminality               or other

           constitutionally                      required            grounds.


                                                45.        As      a direct            and       proximate                   result         of    such      acts,       defendants                 deprived             Plaintiff
           of her         rights          under         the     laws        of the           State         of New             York          and        of the       United            States        Constitution.


                                                46.        Defendants                   were          at all        times          agents,           servants,           and         employees              acting          within
           the       scope           of     their         employment                       by        the      City           of     new           York          and       the         New         York           City          Police

           Department,                    which          are      therefore               responsible                  for       their      conduct.


                                                47.        The         City,        as the           employer                of the         officer         defendants,                is responsible                    for      their

           wrongdoing                     under         the     doctrine              of respondeat                       superior.




                                                                                      SECOND                        CAUSE                    OF ACTION


                                                                                                                  Unlawful                       Stoo




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                                           48.                    The          Plaintiff               repeats,             reiterates,            and       realleges                each        and      every        allegation

         contained             in     paragraphs                      marked                 1 through                47      with      the      same            force      and        effect        as if      more         fully       set

         forth      at length              herein.


                                           49.                   The          illegal             approach,                 pursuit,            and       stop          employed                by       defendants             herein

         terminated             Plaintiff's                  freedom                   of movement                      through             means           intentionally                  applied.



                                            50.                  The      conduct                  of defendants                    in stopping              and         blocking            Plaintiff         was      performed

         under        color          of     law        and         without                 any         reasonable               suspicion              of        criminality              or      other       constitutionally
         required           grounds.


                                            51.                  As      a direct                and      proximate               result         of    such         acts,      defendants                 deprived           Plaintiff
         of her       rights          under           the         laws         of the             State       of New            York.



                                            52.                  Defendants                       were        at all        times       agents,           servants,              and      employees               acting        within
         the     scope        of their            employment                          by     the       City       ofNew              York        and      the      New         York        City      Police         Department,
         which        are      therefore                   responsible                     for     their         conduct.


                                            53.                  The          City,         as the         employer                  of the      officer           defendants,                 is responsible                for     their

         wrongdoing                  under            the        doctrine               of       respondeat                 superior.




                                                                                        THIRD                    CAUSE                     OF ACTION


                      Violation                       of     the         Plaintiff's                       Fourth                 and           Fourteenth                       Amendment                          Rights



                                            54.                  The          Plaintiff                repeats,             reiterates,            and       realleges                each        and      every         allegation

         contained             in     paragraphs                       marked                1 through                 53     with        the     same           force       and         effect      as if       more        fully       set
         forth       at length             herein.


                                            55.                  The          individually                    named            police           officer           defendants,                while         acting       in     concert

         and       within           the     scope            of       their       authority,                  caused           Plaintiff          to be           seized,        unlawfully                searched,            falsely
         arrested,            falsely             imprisoned,                         and          maliciously                  prosecuted                  without              reasonable                suspicion               and/or
         probable             cause,             in    violation                  of       Plaintiff's                right      to     be      free        of     an     unreasonable                    seizure        under           the

         Fourth          Amendment                          of     the         Constitution                      of    the      United            States           and      to      be     free      of       a deprivation                 of

         liberty       under              the     Fourteenth                    Amendment                         of the        United           States.


                                            56.                  As       a result                  of     the        aforementioned                        conduct              of      the       defendants,               Plaintiff

         sustained             injuries,              including                  but        not        limited         to emotional                   and        psychological                    injuries.




                                                                                  FOURTH                              CAUSE                  OF ACTION


                                                                          False                  Arrest               and       False            Imorisonment




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                                                57.            The       Plaintiff                  repeats,             reiterates,            and         realleges            each          and        every          allegation
          contained                 in    paragraphs                marked               1 through                  56     with        the     same          force        and        effect         as if    more          fully       set
          forth       at length                 herein.


                                                58.            The       acts           and         conduct               of     the      defendants                  constitute              false        arrest        and       false
          imprisonment                      under          the      laws         of      the        State      of New                York.          Defendants                 intended             to    confine          Plaintiff

          and,        in      fact,         confined             Plaintiff,               and           Plaintiff              was        conscious              of      the      confinement.                      In    addition,
          Plaintiff           did         not     consent           to the         confinement                      and        the      confinement                  was       not      otherwise             privileged.


                                                59.            As      a direct               and     proximate                  result        of    such       acts,      defendants                    deprived          Plaintiff
          of her       rights             under         the     laws       of the             State        of New              York        and       the     United            States         Constitution.


                                                60.            Defendants                     were         at all        times         agents,         servants,            and        employees               acting            within
          the     scope          of their             employment                 by      the        City      of New              York         and    the      New         York         City        Police        Department,
          which            are      therefore             responsible                 for       their       conduct.


                                                61.            The       City,          as the           employer                of the        officer         defendants,                   is responsible                for     their

          wrongdoing                      under        the      doctrine              of respondeat                      superior.




                                                                                 FIFTH                     CAUSE                     OF ACTION


                                                                                          Unlawful                       Stop           and         Frisk


                                                62.            The       Plaintiff                  repeats,             reiterates,            and         realleges            each          and        every          allegation
          contained                 in    paragraphs                marked               1 through                  61     with         the    same          force        and        effect         as if    more          fully       set
          forth       at length                 herein.


                                                63.            The       illegal            approach,               pursuit,            stop        and     frisk       employed               by        defendants              herein

          terminated                  Plaintiff's              freedom             of     movement                   through              means            intentionally                applied.


                                                64.            The       conduct                of defendants                     in stopping,               frisking,           and      searching               Plaintiff          was
          performed                      under         color        of     law           and         without               any         reasonable              suspicion                of     criminality                 or      other

          constitutionally                        required           grounds.


                                                65.            As      a direct               and     proximate                  result        of    such       acts,      defendants                    deprived          Plaintiff
          of her           rights         under         the     laws       of the             State         of New             York.


                                                66.            Defendants                     were         at all        times         agents,         servants,            and        employees               acting            within
          the     scope          of their             employment                 by       the       City      of New              York         and    the      New         York         City        Police        Department,
          which            are therefore                  responsible                   for     their       conduct.


                                                67.            The       City,           as the          employer                of the        officer         defendants,                   is responsible                for     their

          wrongdoing                      under         the     doctrine              of respondeat                       superior.




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                                                                           SIXTH                  CAUSE                         OF ACTION


                                                                                               Unlawful                         Search



                                        68.             The      Plaintiff                repeats,               reiterates,              and        realleges             each          and       every      allegation

         contained            in     paragraphs              marked             1 through                   67      with         the     same            force      and       effect        as if     more         fully       set

         forth     at length            herein.


                                        69.             The      illegal             approach,                   pursuit,              stop,        and      search             employed             by      defendants

         herein       terminated               Plaintiff's            freedom                of movement                        through             means           intentionally                applied.



                                        70.             Defendants                   lacked           probable                  cause         to   search          Plaintiff.



                                        71.             As     a direct             and       proximate                  result          of     such       acts,      defendants                 deprived          Plaintiff

         of her      rights          under        the   laws       of the            State       of New               York.


                                        72.             Defendants                   were        at all          times          agents,            servants,           and       employees              acting        within

         the     scope      of their           employment                by     the       City        of New               York         and        the    New        York         City      Police         Department,
         which        are     therefore            responsible                for     their       conduct.


                                        73.             The      City,          as the         employer                    of the        officer           defendants,               is responsible                for     their

         wrongdoing                 under        the    doctrine            of respondeat                         superior.




                                                                      SEVENTH                               CAUSE                      OF ACTION


                              Violation                 of    Plaintiff's                     Fifth              and         Fourteenth                          Amendment                         Rights

                                                             Denial             of     Right                to      Fair          Trial/Due                       Process



                                         74.            The       Plaintiff               repeats,               reiterates,              and        realleges              each         and       every      allegation

         contained            in     paragraphs               marked            1 through                   73      with         the      same           force       and        effect      as if     more         fully       set

         forth     at length            herein.


                                         75.            Defendants,                   individually                       and       collectively,                   manufactured                    and/or        withheld
         false     evidence             and       forwarded              this        false       evidence                  to    prosecutors                 in the        New           York       County          District

         Attorney's                Office.


                                         76.            Defendants                   filled           out        false          and      misleading                  police         reports          and      forwarded

         them      to prosecutors                   in the      New           York           County               District             Attorney's                Office.


                                         77.            Defendants                    signed                false          and         misleading                   criminal             court        affidavits               and
         forwarded             them          to prosecutors                 in the         New          York             County               District           Attorney's              Office.




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                                           78.                  In         withholding/creating                                      false                evidence                 against             Plaintiff                VIVIAN
          JAWORSKY,                        and         in providing/withholding                                         infonnation                     with         respect           thereto,         defendants               violated
          Plaintiff's             constitutional                      right         to    due        process            and       fair         trial       under         the      New          York          State      Constitution
          and      under         the      Due         Process               Clause             of the        Fifth       Amendment                           to the      Constitution                  of the         United           States
          and       to     be     free         of     deprivation                    of        liberty        under           the           Fourteenth                 Amendment                      to     the     United            States
          Constitution.


                                           79.                  As     a result            of the           foregoing,                Plaintiff              VIVIAN               JAWORSKY                          sustained,           inter

          alia,         loss      of      the          right          to      due          process                and        a       fair        trial,         loss         of     liberty,           emotional                 distress,
          embarrassment                        and          humiliation,                  and        deprivation                  of her           constitutional                   rights.


                                           80.                  Defendants                      were        at all       times           agents,               servants,           and      employees                 acting        within
          the      scope        of their            employment                      by the           City      ofNew              York             and       the     New          York       City          Police       Department,
          which            are therefore                    responsible                  for      their       conduct.


                                           81.                  The         City,         as the          employer                of the           officer            defendants,                 is responsible                 for     their

          wrongdoing                   under           the      doctrine                 of respondeat                   superior.




                                                                                    EIGHTH                        CAUSE                       OF ACTION


                                                                                                               Negligence



                                                    82.         The         Plaintiff                repeats,            reiterates,                   and       realleges              each          and      every         allegation
             contained                 in paragraphs                       marked               1 through               81 with              the        same         force        and      effect          as if more            fully       set
             forth         at length            herein.


                                                     83.        Defendants                      owed         a duty          of      care        to Plaintiff.


                                                     84.        To     the        extent           defendants                claim             that       the      injuries         to Plaintiff               by     the    defendant
                  police        officer             were       unintentionally                           caused          and       that         the       force        used        by     the     defendant              against          him
                  was      unintentional,                      then         the     defendant                 breached                  that       duty         of     care       by     causing             physical           injury          to
                  the    Plaintiff             and        leaving           her      restrained                in     excessively                      tight       plastic         cuffs        for        several      hours.


                                                     85.        As      a direct               and       proximate                result           of      such        acts,      defendants                 deprived            Plaintiff
                  of her        rights         under           the     laws          of the           State       of New                York.


                                                     86.        All        of the         foregoing                 occurred                without              any     fault          or provocation                  by      Plaintiff.


                                                     87.        Defendants                      were         at all      times              agents,            servants,           and      employees                 acting           within
                  the      scope          of        their       employment                         by       the       City         of        New           York          and        the      New             York        City          Police

                  Department,                  which            are        therefore              responsible                  for      their           conduct.




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                                                  88.         The       City,         as the             employer               of the         officer         defendants,                 is responsible                 for      their

               wrongdoing                   under            the    doctrine                of     respondeat                  superior.


                                                  89.         As    a result              of the           aforeinentioned                      conduct           of      defendants,                Plaintiff          sustained

               injuries,             including               but    not      limited               to physical,                 emotional,                and     psychological                      injuries.




                                                                                _NINTH                         CAUSE                   OF ACTION


                          Violation                     of     Plaintiff's                       Fourth                  And           Fourteenth                      Amendment                           Rights



                                            90.               The         Plaintiff                repeats,              reiterates,            and          realleges             each        and      every           allegation

         contained                in   paragraphs                  marked                 1 through                 89     with        the      same          force         and     effect         as if      more        fully          set
         forth       at length              herein.


                                            91.               The       use       of excessive                      force         by    defendants               by,        amongst            other        things,           striking
         her      with          a baton           and        throwing                 her         to     the      ground,              constituted              objectively                unreasonable                   physical
         seizures           of Plaintiff                in violation                  of her             rights        under           the     Fourth          and       Fourteenth              Amendments                       to the
         Constitution                  of     the       United            States            and          to    be      free      of     a deprivation                  of     liberty          under          the     Fourteenth
         Amendment                     to the         Constitution                    of the             United           States.


                                            92.               Defendants                    were              at all     times         agents,           servants,            and       employees                acting         within
         the      scope          of his       employment                     by       the         City         of New          York           and      the     New          York        City       Police           Department,
         which            are     therefore             responsible                   for        their         conduct.



                                                                                TENTH                          CAUSE                   OF ACTION


                                                                                                                       Assault



                                            93.               The         Plaintiff                repeats,              reiterates,             and         realleges             each        and       every          allegation
         contained                in   paragraphs                   marked                1 through                 92     with         the     same          force         and     effect         as if      more        fully          set
         forth       at length              herein.


                                            94.               Defendants,                        their         agents,         servants             and       employees,                  acting        within          the       scope
         of      their      employment,                       intentionally,                      willfully              and      maliciously                   assaulted            Plaintiff           in      that     they       had
         the       real         or     apparent               ability           to        cause               imminent                harmful            and/or             offensive            bodily             contact          and

         intentionally                  did       a violent             and/or            menacing                  act       which           threatened              such        contact          to the        plaintiff,         that
         such        acts       caused            apprehension                       of     such          contact           in the        Plaintiff.


                                            95.               As      a direct              and          proximate               result        of   such         acts,       defendants                deprived           Plaintiff
         of her          rights        under          the      laws        of the           State             of New           York.




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                                            96.           Defendants                were           at all     times         agents,         servants,          and       employees                  acting          within
          the     scope       of their            employment               by the          City       ofNew             York        and    the    New         York        City      Police           Department,
          which         are      therefore            responsible             for        their      conduct.


                                            97.           The     City,        as the            employer             of the        officer        defendants,               is responsible                   for      their

          wrongdoing                  under         the   doctrine          of respondeat                       superior.


                                            98.           As     a result       of the            aforementioned                     conduct          of defendants,                   Pkintiff              sustained

          injuries,        including               but    not     limited           to     emotional              and      psychological                   injuries.




                                                                            ELEVENTH                               CAUSE                  OF ACTION


                                                                                                              Battery



                                            99.           The      Plaintiff              repeats,            reiterates,            and        realleges          each          and       every          allegation
          contained              in    paragraphs               marked          1 through                98      with       the     same         force       and       effect       as if          more       fully          set
          forth       at length             herein.


                                            100.          Defendants,                their          agents,           servants           and     employees,                acting          within         the         scope
          of    their      employment,                    intentionally,                  willfully             and      maliciously               battered            Plaintiff,            when         they,         in     a
          hostile         and/or            offensive           manner,             struck          Plaintiff           with        a baton         and       threw         her      to      the     asphalt,           and
          handcuffed                  her     excessively            tight,         with          the     intention            of     causing            harmful          and/or           offensive              bodily
          contact         to the        Plaintiff          and     caused            such         battery.


                                            101.          As     a direct           and      proximate                result        of    such     acts,       defendants                 deprived            Plaintiff
          of her        rights        under         the   laws       of the         State          of New          York.


                                            102.          Defendants                were          at all      times         agents,         servants,          and       employees                  acting        within
          the     scope       of their            employment               by the          City       ofNew             York        and    the    New         York        City      Police           Department,
          which         are therefore                 responsible             for        their      conduct.


                                            103.          The      City,       as the            employer             of the        officer        defendants,               is responsible                   for      their

          wrongdoing                  under         the   doctrine          of respondeat                       superior.


                                            104.          As     a result       of the            aforementioned                     conduct          of     defendants,               Plaintiff          sustained

          injuries,        including                but   not     limited           to physical,                emotional,                and    psychological                   injuries.




                                                                           TWELFTH                              CAUSE                OF ACTION


                                                                 Negligent                       Infliction               of      Emotional                   Distress




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                                              105.          The         Plaintiff              repeats,            reiterates,                and        realleges              each           and      every           allegation

          contained               in       paragraphs                  marked              1 through                104        with          the      same          force        and      effect         as if         more        fully
          set forth            at length              herein.


                                              106.          By     the       actions              described              herein,            defendants,                  each      acting         individually                   and       in

          concert             with         each       other,           engaged             in extreme                   and        outrageous               conduct,             conduct             utterly           intolerable
          in    a       civilized             community,                        which             negligently                  caused              severe            emotional                 distress           to      Plaintiff,
          VIVIAN                JAWORSKY.                              The       acts        and         conduct              of     the     defendants                  were      the         direct       and        proximate

          cause          of    injury          and         damage            to Plaintiff                 and      violated                Plaintiff's           statutory               and     common                 law      rights
          as guaranteed                      by      the     laws        and        Constitution                   of the            State         of New           York.


                                              107.          As      a direct            and        proximate                  result         of    such        acts,        defendants               deprived              Plaintiff
          of her         rights            under       the       laws        of the            State       of New              York.


                                              108.          Defendants                   were            at all    times             agents,          servants,              and      employees                  acting       within
          the       scope            of      their          employment                       by      the         City         of      New          York          and         the        New          York          City          Police

          Department,                      which           are     therefore               responsible                  for        their      conduct.


                                              109.           The        City,       as the          employer                  of the          officer          defendants,                is responsible                   for     their

          wrongdoing                       under       the       doctrine             of     respondeat                   superior.


                                              110.          As      a result            of the           aforementioned                        conduct           of      defendants,                 Plaintiff            sustained

           injuries,           including               but       not      limited            to     emotional                 and          psychological                  injuries.




                                                                    THIRTEENTH                                          CAUSE                      OF ACTION


                                                                                             Malicious                        Prosecution



                                               111.          The        Plaintiff              repeats,            reiterates,                 and       realleges               each          and      every           allegation
           contained                 in    paragraphs                  marked              1 through                110            with      the      same          force        and       effect         as if        more        fully
           set forth           at length              herein.


                                               112.          The        acts        and        conduct              of        the         defendants             constitute               malicious                prosecution
           under         the      laws         of the          State         of New               York       and         New           York         State       common                  law.


                                               113.          Defendants                      commenced                        and           continued                a      criminal             proceeding                   against

           Plaintiff.


                                               114.          There           was        actual           malice          and         an absence                of     probable             cause          for     the      criminal

           proceeding                     against          Plaintiff            and      for       the     charges             for         which         she    was         prosecuted.


                                               115.          The         prosecution                       and          criminal               proceedings                      against           the       plaintiff              were

           dismissed                 and      sealed           a short           time        after         the     relevant                incident         as the           District          Attorney                declined            to

           prosecute,                since          she      committed                  no      crime.




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                                             116.        As      a direct              and        proximate            result           of      such         acts,        defendants               deprived            Plaintiff
            of her      rights          under        the      laws           of the         State         of New        York                and       the    United            States         Constitution.


                                             117.        The          City,       as the           employer            of the               officer         defendants,                  is responsible                for     their

           wrongdoing                   under        the      doctrine              of respondeat                 superior.


                                             118.        As     a result            of the          aforementioned                           conduct            of    defend          ants,       Plaintiff          sustained

            injuries,       including                but      not       limited             to    emotional            and         psychological                        injuries.




                                                                             FOURTEENTH                                      CAUSE                       OF ACTION


                                             Negligent                   Hiring,                   Retention,                     Training                      and          Supervision



                                             119.         The         Plaintiff              repeats,         reiterates,                    and       realleges              each         and       every           allegation
            contained             in     paragraphs                 marked               1 through              118      with           the        same           force       and        effect       as if      more          fully
            set forth           at length           herein.


                                             120.         The         City        of     New          York        and            its    employees,                      servants           and/or          agents            acting
            within        the     scope           of their       employment                        did     negligently                  hire,         retain,        train         and    supervise             defendants,
            individuals                who        were        unfit       for      the       performance                    of     police             duties         on      the     aforementioned                     dates          at
            the      aforementioned                      locations.


                                             121.        As      a result           of the          aforementioned                           conduct              of defendants,                  Plaintiff          sustained

            injuries,       including                but      not       limited             to physical,              emotional,                   and       psychological                    injuries.




                                                                               FIFTEENTH                              CAUSE                        OF ACTION

                                                                                                 Failure          to        Intervene



                                             122.         The         Plaintiff              repeats,         reiterates,                    and       realleges              each         and       every           allegation
            contained             in     paragraphs                 marked               1 through              121      with           the        same           force       and        effect       as if      more          fully
            set forth           at length           herein.


                                             123.         The         defendants                   that     did       not         physically                 touch           Plaintiff,            but        were       present
            when        other          officers       violated                Plaintiff's             Constitutional                    Rights              had      an affirmative                 duty       to intervene
            on behalf            of Plaintiff,               whose             constitutional                 rights             were         being          violated              in their       presence             by     other

            officers.


                                             124.         Defendants                   failed         to    intervene                  to     prevent             the      unlawful               conduct            described
            herein.




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                                               125.         As     a result            of the        foregoing,                Plaintiff's               liberty          was       restricted,           her      rights       were

           violated,             she      was         put     in        fear     for      her        safety,          physically                  injured,              falsely       anested            and       unlawfully
           imprisoned,                   and     psychologically                          traumatized.


                                               126.         As      a direct            and        proximate                 result        of     such        acts,        defendants              deprived              Plaintiff
           of     her   rights           under         the        laws         of the       State          of New             York.


                                               127.         Defendants                   were         at all      times             agents,          servants,              and       employees                acting       within

           the       scope          of      their           employment                     by        the       City          of      New           York         and          the      New          York          City          Police

           Department,                   which          are        therefore              responsible                 for         their       conduct.


                                               128.         The         City,       as the           employer                of the           officer         defendants,                is responsible                  for     their

           wrongdoing                    under         the        doctrine             of respondeat                    superior.


                                               129.         As      a result            of the        aforementioned                            conduct            of     defendants,              Plaintiff            sustained

           injuries,          including                but        not     limited           to physical,                 emotional,                     and    psychological                     injuries.




                                                                                                JURY              DEMAND

                                               130.         Plaintiff            hereby              demands             trial        by jury            of   all        issues       properly           triable         thereby.



                                                                                PRAYER                       FOR              RELIEF


                                         WHEREFORE,                                    Plaintiff           VIVIAN                   JAWORSKY                            demands               judgment             against           the
         defendants              on      each         cause         of action             in amounts                  to be determined                         upon           the     trial      of this action                which
                                                                                                                                                                                                       attorneys'
         exceeds           the        jurisdiction                  of         lower          courts,           inclusive                  of     punitive                damages               and                               fees
         inclusive         of       costs        and        disbursements                       of    this      action,             interest            and    such           other       relief      as is appropriate
         under       the     law.        That         the     Plaintiff           recover             the      cost      of the            suit     herein,             including             reasonable             attorney's
         fees     pursuant             to 42        U.S.C.              § 1988.


         Dated:                          New          York,             New       York
                                          March             20,     2021


                                                                                                By:                                       d         '

                                                                                                CAITLIN                 RO            INW.
                                                                                                CAITLIN                 ROBIN                   AND           ASSOCIATES                         PLLC

                                                                                                Attorney               for        Plaintiff
                                                                                                30 Broad                Street            Suite         702

                                                                                                New          York,           New           York          10004
                                                                                                (646)-524-6026




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          TO:   THE       CITY       OF      NEW   YORK,    Corporation    Counsel,      100   Church    Street,   NY,     NY        10007


                NYPD        POLICE           SERGEANT       GIMENEZ,       TAX     ID   NO.    933804,   PSA-2;      25    Central

                Avenue,          Brooklyn,     NY   11206




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                                                                                ATTORNEY'S                      VERIFICATION


                        CAITLIN                   ROBIN,          an attorney              duly     admitted           to practice           before      the     Courts             of the


         State     of New             York,        affirms        the     following              to be true      under        the    penalties           of perjury:


                        I am         a member             of    the      law      firm      of     CAITLIN              ROBIN           AND           ASSOCIATES                            PLLC,             I
        have       read        the    annexed           VERIFIED                  COMPLAINT                      and     know        the      contents          thereof,            and     the       same
         are     true     to     my         Imowledge,             except          those         matters       therein         which          are     stated         to    be       alleged           upon
         information                 and     belief,      and     as to those            matters           I believe       them        to be true.              My        belief,       as to those
        matters           therein           not    stated        upon          knowledge,             is     based      upon        facts,      records,             and        other       pertinent
         information                 contained          in my         files.     The     reason       this     verification            is made         by me and                 not      Plaintiff          is
        because           Plaintiff           does     not      reside         in the    county        wherein           I maintain           my      office.




        DATED:              New            York,       New      York
                           March             20,   2021




                                                                                                                     CAITLIN           ROBIN




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